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                                        EXHIBIT A
                          Proof of Claim for 1998 Credit A2reement




DOCS_DE:138088.i
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                                                                                                                \
                                                                                                                \
                                                                                                                    \.




                                                WR Grace                                       SROOOO0559 .

 11111111~i1~i1111111~i111111111111111        Bankruptcy Form 10
                                                  Index Sheet

Claim Number:                 00009168                                   Receive Date:    03/28/2003

Multiple Claim Reference

Claim Number                                     0    MMPOC         Medical Monitoring Claim Form

                                                 0    PDPOC         Propert Damage

                                                 0    NAPO          Non-Asbestos Claim Form

                                                 0                  Amended


Claim Number                                     0    MMPOC         Medical Monitoring Claim Form

                                                 0    PDPOC         Propert Damage

                                                 0    NAPO          Non-Asbestos Claim Form

                                                 0                  Amended


Attorney Information

Firm Number;                                   Firm Name:

Attorney Number:                              Attorney Name:

Zip Code:

Cover Letter Location Number:


               Attachments                       Attachments Non-Asbestos
          Medical Monitoring                   Propert Damage

o TSD                                    o TSD ¡g Other Attachments
o TSD                                    o TSD
o TSD                                    o TSD
o TSD                                    o TSD
o TSD                                    o TSD
                                         o Other Attachments

Other                                    o Non-Standard Form
                                         o Amended
                                         o Post-Deadline Postmark Date

. BoX/Batch: WRBF0037/WRBF0148                                                  Document Number: WRBF007396 .
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 UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE                                                                                           GRACE NON-ASBESTOS
                                                                                                                                                       PROOF OF CLAI FORM
 Name of    Debtor. W.R. Grce & Co.-CONN. and each of                      the Guarantors Case Number 01-01139 (JK.)
.and additional borrower listed on the attached Schedule I Jointl Administered)
. NOTE: Do not use this form to assert an Asbestos Personal Injury Claim, a Settled Asbestos Claim or a
  Zonolite Attc Insulation Claim. Those claims wil be subjeêt to a separate claims submission process: This
  form should also not be used to me a claim for an Asbestos Property Damage Claim or Medical Monitoring
  Claim. A s ecialized roof of claim form for each of these claims should be fied.
 Name of Creditor (The person or other entity to whom the Debtor owes                              o Chek box if      you are aware that anyone
 money or propert):                                                                                     else has filed a prof of claim relating            THIS SPACE is FOR COURT USE ÚNL Y
                                                                                                        10 your claim. Attach copy of   state men I
      JPMorgan Chase Bank                                                                               giving pariculars.
      As Administrative Agent for the Credit Agreement dated as of                     May         o Check box if you have never received
      14,1998                                                                                           any notices from ui bankptcy court
                                                                                                        in this cnse.
 Name and address where notices should be sent:
                                                                                                   o Check box ¡fthe addre differs from
      270 Park Avenue                                                                                   th address on the envelope sent to you
      New    York,    New        York 10017                                                             by the court.
      Attention: Thomas F. Maher
 Account or other number by which creditor identifies Debtor:                                     Check here 0 replaces
             Not Applicable                                                                       ifthis claim 0 amends a previously fied claim. dated:

 Corporate Name, Common Name, and/or d//a name of specific Debtor against whom the claim is asserted:
      W.R. Grace & Co.-CONN. and each of                   the Guarantors and additional borrowers listed on Schedule Ito the attched

 1. Basis for Claim 0 Retiree benefits as defined in i i V.S.C. § 1114(a)
    o Goo sold 0 Wages, salaries, and compensation (fill out below)
      o Services performed
      o Environmental liabilty                                                                          YourSS#:___
      18 Money loaned
      o Non-asbestos personal injury/wrongful death
      o Taxes
                                                                                                        from to
                                                                                                        Unpaid compensation for servces performed
                                                                                                                                                                     (date)

      o Other
2. Date debt was incurred: Various, including March i 5, 200 i.                                   3. If court judgment, date obtained:

4. Total Amount of Claim at Time Case Filed:                                                      $ See attched
                lfall or pa of    your clm Î5se oreoitled to pnrity, als complete lrem.5 below.

      I8 Chk this box ifclaim includes inierest or othr charges in addition to the rincipal amount ofihc claim. Attch itemized statement orall interest or additional charges.
5. Classifcation of Claim. Under the Bankruptcy Code all claims are classifed as one or more of the fOllowing: (1) Unsecured Nonpriority, (2)
Unsecured Priority, (3) Secured. It is possible for part of a claim to be in one category and part in anotber. CHECK THE APPROPRJA TE BOX OR
BOXES that best describe your claim and STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED.
      o SECURED CLAIM (check this box if                        your claim is secured by 0 UNSECURED PRIORIT CLAIM. Specify the priority ofthe
             collateral, including a right of setoff) claim.
             Brief   Description of       Collateral: 0 Wages, salaries, orcomnssions (up to $4650), earned not more
      o Real Estate 0 Other (Describe briefly) than 90 days before  fiing ofthe bankrptcy petition or cessation of
                                                                the debtots business, whichever is earlier - i i V.S.C. § 507(a)(3).
                                                                                                        o Contrbutions to an employee benefit plan - i i U.S.C. § 507(a)(4).
Amount of arrrage and other chares at time case fied included in
secured claim above, if any: $                                                                          o Taxes or penalties of governmental units - I I U.S.c. § 507(a)(7).
             Attach evidence of perfection of security interest                                         o Other - Specify applicable pargrph of i I U.S.C. § 507(a)L-.

      I8 UNSECURED NONPRIORITY CLAIM
      A claim is unsecured ifthere is no collateral or lien on propert of the
      debtor securing the claim or to the extent thatthe value of such
      propert is les than the amount of the claim.

6. Credits: The amount of all payments on this claim has been credited and deducted for the purpose of making this                                        Ths Space is for Couii Use Only
     proof of claim.
7. Supporting Documents: Attach copies or slIooortinf! doclIments. such as promissory notes, purchase orders,
     invoices, itemized statements of running accounts. contrcts, court judgments, mortgages, security agreements and
     evidence of perfection of Hen. DO NOT SEND ORIGINAL DOCUMENTS. If                the documents are not available,
     explain. Ifthe documents are voluminous, attach a summary.
8. Date-Stamped Copy: To receive an acknowledgment of           the tiling ofyour claim. enclose a stamped. self.
     addressed envelope and copy of this proof of claim.
Daie "' Sigo and prin ibe name and title, if any. of the creditor or other pen authorU to file this clam (attach copy of power of atorney. if an):
Maich~ 2003
                                                                                                                                                        WR Grace BF.37.148.7396
                                                                                                                                                                   00009168
                                                                                                                                                        SR=559


                                                                                                  REC'O MAR 2 8 2003
             See General         Instructions and Claims Bar Date Notice and it~ exhibits for names of all Debtors and other names used by the Debtors.
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                                   UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF DELAWAR
In re:                                                              )      Chapter 11
                                                                    )
W.R. GRACE & CO., et al.;                                           )      Case No. 01-01139 (JFK)
                                                                    )      Jointly Administered
                                          Debtors                   )
                                                                    )
                                                                    )

            MASTER PROOF OF CLAIM OF JPMORGAN CHASE BANK, IN ITS
            CAPACITY AS AGENT FOR THE CLAIMANTS UNDER THE CREDIT
             AGREEMENT DATED AS OF MAY 14. 1998. IDENTIFIED HEREIN
                     1. The undersigned, Thomas F. Maher, whose business and mailng address is

270 Park Avenue, New York, New York 10017, is a Managing Director                       of JPMorgan Chase

Ban (formerly known as The Chase Manattan Bank; "JPMorgan Chase"), a baning

corporation formed and existing under the laws of the State of New York, with offces at 270

Park Avenue, New York, New York 10017. JPMorgan Chase is the administrative agent (in

such capacity, the "Agent") for itself and the other banks and financial institutions (collectively,

the "Lenders"; together with the Agent, the "Claimants") from time to time paries to the Credit

Agreement, dated as of            May 14, 1998 (as amended, supplemented or otherwise modified prior to

the Petition Date referenced below, the "Credit Agreement"), among W.R. Grace & Co. (:fa

Grace Specialty Chemicals, Inc.), ("W.R. Grace"), W.R. Grace & Co.-CONN., the Lenders

pary to the Credit Agreement, the Agent and Chase Securities, Inc., as Aranger. Pursuant to the

"Claims Bar Date Notice Order" entered by the Bankptcy Court on April 25,2002 and the

"Order as to all Non-Asbestos Claims, Asbestos Property Damage Claims, and Medical

Monitoring Claims: (1) Establishing Bar Dates, (II) Approving Proof of Claim Forms, and (II)

Approving Notice Program" entered by the Bankptcy Court on April 25, 2002, the Agent has

been authorized to file this master proof of claim (this "Master Proof of Claim") on behalf of all

of the Claimants.
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                                                                                                                        2


                     2. The l\gent is filing this Master Proof of Claim in order to set forth the

aggregate claims of each Claimant as of April 2,2001 (the "Petition Date") against (a) W.R.

Grace & Co.-CONN., (b) W.R. Grace and W.R. Grace & Co.-CONN. as guarantors (together,

the "Guarantors"), and ( c) to the extent that any of them are Additional Borrowers under the

Credit Agreement, each entity set forth on Schedule I hereto (collectively with W.R. Grace &

Co.-CONN. and the Guarantors, the "Debtors"), arsing under or in connection with the loans,

extensions of credit and other financial accommodations made by the Claimants to the Debtors

under or pursuant to the Credit Agreement. All such loans, extensions of credit and other

financial accommodations, and all fees and other amounts owing under, or in connection with,

the Credit Agreement are hereinafter referred to as the "Pre-Petition Obligations".

                     3. (a) The Debtors were, as of                the Petition Date, and stil are indebted (or liable)

(i) to the Claimants as set forth on Schedule II hereto in respect ofloans made by the Claimants

to the Debtors under the Credit Agreement in the aggregate pricipal amount as of                        Februar 1 i,

2003 of    not less than $250,000,000 (the "Total Principal Amount") and (ii) to each Lender in an

amount not less than the sum of               the amounts set forth opposite such Lender's name on Schedule

II hereto under the heading "Principal Outstanding", plus in each case (A) interest thereon (in

amounts determined at the rates set forth in the Credit Agreement) accrued and unpaid as of                       the

Petition Date and accrued and accruing subsequent to the Petition Date and (B) facility and other

fees (in amounts determined at the rates set forth in the Credit Agreement) accrued and unpaid as

of   the Petition Date and accrued and accruing subsequent to the Petition Date, and for such

additional amounts as described in paragraphs 3(c), 3(d) and 6 below.

                     (b) The amount of           the Claimants' claims against the Debtors on account of

interest accrued as of            the Petition Date and accruing subsequent to the Petition Date on the Total
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                                                                                                               3


Principal Amount (including interest accrued and accruing in respect of any drawing und~ the

letters of credit), and any fees payable under the Credit Agreement, shall be reduced by the

amount, if any, of such interest and fees paid to the Claimants after the Petition Date.

                     (c) The Debtors are also indebted (or liable) to the Claimants for fees and costs

and expenses, including attorneys' fees, incurred before or after the Petition Date to the extent

provided in the Credit Agreement.

                     (d) The Guarantors were, as of         the Petition Date, and stil are, liable to the

Claimants for the repayment of               the Pre-Petition Obligations, including without limitation the

amounts set forth in pargraphs 3(a) through 3(c) above and paragraph 6 below.

                     4. The consideration for the indebtedness owing to the Claimants (or ground of


liability) described in this Master Proof of Claim is the loans, extensions of credit and other

financial accommodations made by the Claimants pursuant to, or in connection with, the Credit

Agreement.

                     5. By reason of         the foregoing, the Debtors are indebted (a) to the Claimants as

set forth on Schedule II hereto in the aggregate principal amount as of Februar 11, 2003 of not

less than $250,000,000 in respect ofloans made under the Credit Agreement plus (i) interest

thereon (in amounts determined at the rates set forth in the Credit Agreement) accrued and

unpaid as ofthe Petition Date and accrued and accruing subsequent to the Petition Date and (ii)

facility and other fees (in amounts to be determined at the rates set forth in the Credit Agreement

and the other Loan Documents) accrued and unpaid as of                 the Petition Date and accrued and

accring subsequent to the Petition Date and (b) to each Lender in an amount not less than the

sum of    the amounts set forth opposite such Lender's name on Schedule II hereto under the

headings entitled "Principal Amount", plus in each case (i) interest thereon (in amounts
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                                                                                                                              4


det~rmined at.      the rates   ,set fonh in the Credit Agreement) accrued apd unpaid as of                 the Petition

Date and accrued and accruing subsequent to the Petition Date and (ii) facilty and other fees (in

amounts determined at the rates set forth in the Credit Agreement) accrued and unpaid as of                             the

Petition Date and accrued and accring subsequent to the Petition Date. Estimated pre-petition

interest and facility fees are shown as amounts not less than those set forth under colums

bearng those titles on Schedule II hereto.

                     6. In addition to the amounts claimed above, the Debtors are also liable to the

Claimants and for such fees, indemnities, and costs and expenses as have accrued or have been

incured before or after the Petition Date and thereafter accre or are incurred to the extent set

forth in the Credit Agreement. In this regard, the Debtors are obligated pursuant to the Credit

Agreement to reimburse each Claimant for all of                       its costs and expenses, including attorneys' fees

and disbursements, incurred in connection with, among other things, any Debtor's defaults under

the Credit Agreement. This Master Proof of Claim is without prejudice to the right of                          the

Claimants to claim such fees and other expenses as administrative expenses of these cases

pursuant to Section 503(b) of             Title 11 of     the United States Code (the "Bankrptcy Code").

                     7. Annexed hereto as Exhibit A is an index of                       the principal documents upon

which this Master Proof of Claim is based. Because of                          their voluminous nature, the Agent has

not anexed hereto as separate exhibits copies of such documents. Rather, the Agent wil

provide copies upon the reasonable written request delivered to counsel for the Agent made by

any party in interest in these cases.

                     8. The claims set forth in this Master Proof of Claim are not subject to any valid

set-off or counterclaim, except to the extent of any rights of set-off in favor of any Claimant

which existed as at the petition date.
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                                                                                                                5


                         9. No judgment has been rendered on th,e claims set forth in this Master Proof of

Claim.

                         10. The amount of all payments on the claims set fort in this Master Proof of


Claim has been credited and deducted for the purpose of making this Master Proof of Claim.

                         11. The Agent reserves the right to amend and! or supplement this Master Proof

of   Claim and each of         the Schedules and Exhibits hereto at any time and in any maner, including

without limitation, to reflect a change in the holders or the allocation of the claims of the

Claimants set forth on Schedule II hereto resulting from any transfer of such claims. Each

Claimant reserves the right to file additional proofs of claim for additional claims which may be

based on the same or additional documents. Each Claimant furter reserves the right to fie

proofs of claim for administrative expenses or other claims entitled to priority.

                         i 2. The Agent also files this Master Proof of Claim on behalf of any creditor or

class of creditors whose claims are subordinate to the claims of             the Claimants (collectively, the

"Subordinated Claims") and the Agent, on behalf of the Claimants, hereby asserts additional

claims against the Debtors in the amount of any such Subordinated Claims. The Claimants

hereby assert their right to enforce, and claim all benefits accorded by, any and all subordination

provisions which exist in respect of               the Subordinated Claims. The Agent also reserves the right

to amend or supplement this Master Proof of Claim as may be necessar or appropriate to

preserve the benefits of such Subordinated Claims or to further protect the rights and remedies of

the Claimants with respect to any such Subordinated Claims.

                         13. This Master Proof of Claim is filed to protect the Claimants from potential

fodeiture of their claims. The filing of this Master Proof of Claim shall not constitute: (a) a

consent by the Claimants to the jurisdiction of this Court with respect to the subject matter of the
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                                                                                                    6


claims set forth in this Master Proof of Claim, any objection or other proceeding commenced

with respect thereto or any other proceeding commenced in these cases against or otherwise

involving any Claimant, (b) a waiver of the right of the Claimants to tral by jury in any

proceedings so triable in these cases or any controversy or proceedings related to these cases or

(c) an election of   remedies.
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     14. All notices concerning this l\aster Proof of Claim shall be sent to:

                           JPMORGAN CHASE BANK,
                           as Administrative Agent
                           270 Park Avenue
                           New York, New York 10017
                           Attn: Thomas F. Maher

                           with a copy to:

                           SIMPSON THACHER & BARTLETT
                           Attorneys for JPMorgan Chase Bank
                           425 Lexington Avenue
                           New York, New York 10017
                           Attn: Peter Pantaleo, Esq.
                                  Richard W. Douglas, Esq.
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                                                                                   SCHEDULE I

                                          Guarantors
W.R. Grace & Co.
W.R. Grace & Co.-CONN.

                                     Additional Borrowers

A-I Bit & Tool Co., Inc.
Alewife Boston Ltd.
Alewife Land Corporation
Amicon, Inc.
CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.)
CCHP, Inc.
Coalgrace, Inc.
Coalgrace II, Inc.
Creative Food 'N Fun Company
Darex Puero Rico, Inc.
Del Taco Restaurants, Inc.
Dewey and Almy, LLC (f/a Dewey and Almy Company)
Ecarg, Inc.
Five Alewife Boston Ltd.,
GC Limited Parners I, Inc. (f/a Grace Cocoa Limited Parners I, Inc.)
GC Management, Inc. (fik/a Grace Cocoa Management, Inc.)
GEC Management Corporation
GN Holdings, Inc.
GPC Thomasvile Corp.
Gloucester New Communities Company, Inc.
Grace A-B Inc.
Grace A-B II Inc.
Grace Chemical Company of Cuba
Grace Culinary Systems, Inc.
Grace Drillng Company
Grace Energy Corporation
Grace Environmental, Inc.
Grace Europe, Inc.
Grace H -G Inc.
Grace H-G II Inc.
Grace Hotel Services Corpration
Grace International Holdings, Inc. (flk/a Dearborn International Holdings, Inc.)
Grace Offshore Company
Grace PAR Corporation
Grace Petroleum Libya Incorporated
Grace Taron Investors, Inc.
Grace Ventures Corp.
Grace Washington, Inc.
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W.R. Grace Capital Corporation
W.R. Grace Land Corporation
Gracoal, Inc.
Gracoal II, Inc.
Guanica-Canbe Land Development Corporation
Hanover Square Corporation
Homco International, Inc.
Kootenai Development Company
LB Realty, Inc.
Litigation Management, Inc. (fìa GHSC Holding, Inc., Grace JVH, Inc., Asbestos
   Management, Inc.)
Monolith Enterrises, Incorporated
Monroe Street, Inc.
MRA Holdings Corp. (flka Nestor-BNA Holdings Corporation)
MRA Intermedco, Inc. (fìa Nestor-BNA, Inc.)
MRA Staffng Systems, Inc. (t7a Bntish Nuring Association, Inc.)
Remedium Group, Inc. (flka Environmental Liability Management, Inc., E&C Liquidating
   Corp., Emerson & CUl1ing, Inc.)
Southern Oil, Resin & Fiberglass, Inc.
Water Street Corporation
Axial Basin Ranch Company
CC Parners (£'a Cross Country Staffng)
Hayden-Gulch West Coal Company
H-G Coal Company
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                                                                                                  SCHEDULE II


                                                          CLAIMANTS

                                   Credit Agreement dated as of     May 14,1988,
                                             Holdings as of March 11, 2003
Claimant                                                          Estimated       Estimated
                                                 Principal       Pre-petition    Pre-petition     Pre-Petition
                                                Amount ($)       Interest ($) Facilty Fees ($)       Total
Bank of Nova Scotia                              14,705,882.35       86,219.77        1,531.00    14,793,633.12
Bear Stear & Co. Inc.                            31,342,502.62      183,759.35        3,263.01    31,529,524.98
Cypress Management Partership                     2,000,000.00       11,725.89          208.22     2,011,934.10
D.K. Acquisition Parers, L.P.                    81,835,674.50      479,798.02        8,519.75    82,323,992.26
Deutsche Bank Trut Company Amencas               21,705,882.44      127,260.38        2,259.76    21,835,402.58
Dresdner Ban AG                                  14,705,882.35       86,219.77        1,531.00    14,793,633.12
Goldman Sachs Credit Parers L.P.                  5,294,118.23       31,039.12          551.16     5,325,708.51
JPMorgan Chase                                   34,705,882.36      203,478.66        3,613.16    34,912,974. i 8
King Street Capital, L.P.                        38,998,292.80      228,644.83        4,060.03    39,230,997.66
Morgan Staley Emerging Markets, Inc.              4,705,882.35       27,590.33          489.92     4,733,962.60
Total                                           250,000,000.00    1,465,736.12       26,027.00   251,491,763.12
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                                                            EXHIBIT A

                                                      Pnncipal Documents

CREDIT AGREEMENT

1. The Credit Agreement dated as of       May 14, 1998, among W.R. Grace, W.R. Grace & Co.-
          CONN., the Lenders party thereto, the Agent and Chase Secunties, Inc, as Arrger.

OTHER

2. "Claims Bar Date Notice Order" entered by the Banptcy Court on Apnl 25, 2002.

3. "Order as to all Non-Asbestos Claims, Asbestos Property Damage Claims, and Medical
                                                                          Claim Forms, and
          Monitonng Claims: (I) Establishing Bar Dates, (II) Approving Proof of

          (II) Approving Notice Program" entered by the Bankptcy Cour on Apnl 25, 2002.
